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                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )           CASE NO. 8:03CR313
                                                )
              Plaintiff,                        )
                                                )
              vs.                               )               JUDGMENT
                                                )
JOSE ANTONIO RAMIREZ-CORTEZ,                    )
                                                )
              Defendant.                        )

       Pursuant to the Memorandum and Order entered on this date, judgment is entered

in favor of the government and against the defendant. The defendant's “Motion Under 28

USC § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody”

(Filing No. 88) is dismissed, with prejudice.

       DATED this 10th day of November, 2005.

                                          BY THE COURT:



                                          s/ Joseph F. Bataillon
                                          JOSEPH F. BATAILLON
                                          United States District Judge
